WD/NC (Rev. 5/2020) Agreed Order

FILED
CHARLOTTE, NC
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA MAR { 1 2021

UNITED STATES OF AMERICA } WESTERN DISTRIS Ce No
)
Vv. ) Criminal Case No. 0419 3:11CR00292-
001
)
Johnathan Clyburn )
Defendant }

AGREED ORDER AND JUDGMENT
TO REVOKE SUPERVISED RELEASE

Upon petition of the U.S. Probation Office, joined herein by the United States and the
defendant, to revoke the supervised release of defendant Johnathan Clyburn and for good cause

shown therein, and also based on agreement of the parties as set forth herein:

AGREEMENT OF UNITED STATES AND DEFENDANT
The defendant agrees and stipulates that he has violated the terms and conditions of

supervised release in the following respects:

4. FAILURE TO REPORT AS DIRECTED (Date violation concluded: 9/15/2020), The
defendant has violated the condition of supervision that states, "The defendant shall report
to the probation officer in a manner and frequency directed by the court or probation
officer," in that, the defendant failed to make himself available for supervision on multiple
occasions at the request of this officer. This officer made attempts to contact him on July
1, 2020; July 29, 2020; and finally, on September 15, 2020. This defendant has

demonstrated behavior consistent with absconding from supervision. (Grade C Violation)

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2, FAILURE TO MAINTAIN LAWFUL EMPLOYMENT (Date violation concluded:
9/15/2020). The defendant has violated the condition of supervision that states, "The
defendant shall work full time (at least 30 hours per week) at lawful employment, unless
excused by the probation officer. The defendant shall notify the probation officer within
72 hours of any change regarding employment," in that, the defendant failed to secure and
maintain lawful employment during his term of supervised release. The defendant also

failed to follow up on job referrals provided by his assigned officer. (Grade C Violation)

The parties stipulate, pursuant to Chapter 7 Policy Statements, U.S. Sentencing Guidelines,
that the defendant’s violations are a maximum Grade C and that the defendant has a Criminal
History Category of I.

The parties stipulate, based on U.S.S.G. §7B1.4, that the Guidelines range of imprisonment
for a Grade C violation and a Criminal History Category of IL is a term of imprisonment from four
(4) to ten (10) months.

The parties agree, pursuant to Rules 11(c)(1)(C) and 32.1, Federal Rules of Criminal
Procedure, that the Court should revoke supervised release and order the defendant to be
imprisoned for a period of ten (10) months, If the Court rejects this sentencing agreement, the
defendant has the right to withdraw from this Agreed Order and have an evidentiary hearing on

the petition for revocation of supervised release.

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DEFENDANT’S ACKNOWLEDGMENT AND WAIVER

The defendant acknowledges that he is admitting the violations of supervised release
because he did, in fact, violate the conditions of supervised release set forth above.

The defendant acknowledges that he has had an opportunity 1) to review the written notice
of the alleged violations of supervised release and 2) to review the evidence against him related to
those alleged violations.

The defendant further acknowledges that he is aware of the following rights and is
knowingly waiving these rights in exchange for the agreed sentence:

1) The opportunity to appear personally, present evidence, and question adverse witnesses

at a revocation hearing; and

2) The opportunity to make a statement personally to the Court in mitigation of sentence

and to present mitigating evidence to the Court.

If the Court accepts the agreed sentence, the defendant knowingly waives the right to
contest the revocation of supervised release and the defendant’s sentence in any appeal or post-
conviction action. Claims of (1) ineffective assistance of counsel and (2) prosecutorial

misconduct, and those claims only, are exempt from this waiver.

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AGREED SENTENCE

Upon agreement of the parties as set forth above, it is hereby ORDERED that the
previously imposed period of supervised release is REVOKED.

It is further ORDERED that the defendant Johnathan Clyburn be and is hereby
SENTENCED to a term of imprisonment of ten (10) months on Counts | and 2 of the judgment,
to run concurrently.

It is further ORDERED that no additional term of supervised release is ORDERED
following the defendant’s release from imprisonment.

It is further ORDERED that any restitution order, fine, and special assessment imposed in
the original Judgment in a Criminal Case are hereby reimposed and are to be paid in full
immediately.

So ORDERED and ADJUDGED, this the _//” day of f l¢ Combe

  

 

” Robert J. Conraé f ir. ~ : |
US. Distiot urt Judge vf

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APPROVED

la, OL.

Johnathan Clyburn
Defendant

Anti. 7 CXhie Van Kya
”Attorneyfor Defendant” Assistant Unite States Attorney

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Glynis Eaton Will Kozlowski”
Supervisory U.S, Probation Officer Probation Officer

 

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